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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 SHOSHANNAH HENRY,                           )
                                             )
                  Plaintiff,                 )
                                             )
                     v.                      )
                                             )     C.A. No. 23-478-MN
 DELAWARE STATE UNIVERSITY,                  )
 TONY ALLEN, AL DORSETT, and                 )
 ANTONIO BOYLE.                              )

                Defendants.

                    STIPULATION OF DISMISSAL WITH PREJUDICE

         IT IS HEREBY stipulated and agreed, by and among Plaintiff Shoshannah Henry

(“Plaintiff”) and Defendants Delaware State University, Tony Allen, Al Dorsett, and Antonio

Boyle (“Defendants”) (collectively, the “Parties”), that all claims in the above-captioned matter

are and shall be dismissed with prejudice, with each party bearing the party’s own costs and fees.

                                                   SAUL EWING LLP

 /s/ Shoshannah Henry                              /s/James D. Taylor, Jr
 Shoshannah Henry                                  James D. Taylor, Jr. (#4009)
 5546 Orb Court                                    Marisa R. De Feo (#6778)
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                                                   Attorneys for Defendants

         IT IS SO ORDERED this ____ day of July, 2024


                                                    _________________________________
                                                    UNITED STATES DISTRICT JUDGE




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